                                   Case 20-18036                Doc 127           Filed 05/26/21              Page 1 of 3
                                                              United States Bankruptcy Court
                                                                   District of Maryland
In re:                                                                                                               Case No. 20-18036-TJC
Mahmoud Musa Abulhawa                                                                                                Chapter 13
       Debtor
                                                    CERTIFICATE OF NOTICE
District/off: 0416-0                                                 User: admin                                                          Page 1 of 2
Date Rcvd: May 24, 2021                                              Form ID: clerk49                                                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 26, 2021:
Recip ID                  Recipient Name and Address
                          Michael Thomas Marr, SANDS ANDERSON PC, 9 1497 Chain Bridge Road, Suite 202, 10 McLean, VA 22101

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                     NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 26, 2021                                           Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 24, 2021 at the address(es) listed below:
Name                              Email Address
Daniel Alan Ross
                                  daniel.ross@mccalla.com mccallaecf@ecf.courtdrive.com

Fredrick Eric Nix
                                  fnix@ch13md.com

Leah Christina Freedman
                                  bankruptcy@bww-law.com leah.freedman@bww-law.com

Mark David Meyer
                                  bankruptcy@rosenberg-assoc.com

Nikita Rajendra Joshi
                                  Nikita.Joshi@bww-law.com bankruptcy@bww-law.com

Paige Smith
                                  plevysmith@sandsanderson.com
                                  sryan@sandsanderson.com,TKearns@sandsanderson.com,aburgess@sandsanderson.com,kpavlova@sandsanderson.com

Rebecca A. Herr
                                  ecf@ch13md.com

Sari Karson Kurland
                                  skurland2@comcast.net admin@sarikurland.com,kurlandsr71821@notify.bestcase.com,marie-claire@sarikurland.com
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District/off: 0416-0                                 User: admin                               Page 2 of 2
Date Rcvd: May 24, 2021                              Form ID: clerk49                         Total Noticed: 1
Wayne Anthony Holman
                          bankruptcy@bww-law.com Anthony.Holman@bww-law.com


TOTAL: 9
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                            at Greenbelt
                                  In re:    Case No.: 20−18036 − TJC          Chapter: 13

Mahmoud Musa Abulhawa
Debtor

                      NOTICE OF REQUIREMENT TO REVIEW TRANSCRIPT
A transcript of a hearing held in this case was requested and has been received by the Court. The transcript is
available for review at the Clerk's Office or copies may be purchased from the transcriber. Each party's attorney is
required to review the opening and closing statements made on behalf of the represented party, any statements made
by the party and the testimony of any witness called by the party. If a party is self−represented, the party needs to
perform this review himself/herself. You have seven (7) days from the date of this notice to file a Notice of Intent to
Request Redaction with the Court, stating your intent to request redaction of sensitive private information before the
transcript is made electronically available to the public, pursuant to the privacy policy of the Judicial Conference of
the United States. The privacy policy is available on the U.S. Court's website, www.uscourts.gov, under Rules &
Policies.

Examples of personal identification information which should be redacted include all but the last four digits of social
security or taxpayer identification numbers, all but the last four digits of account numbers, all but the initials of minor
children, and all but the year of birth.
Pursuant to LBR 9037−1, if you intend to request redaction of the transcript:

1.     You have seven (7) days from the date of this notice to file a Notice of Intent to Request Redaction with the
       Court. A copy of the Notice of Intent to Request Redaction must be served upon the transcriber;

2.     You have twenty−one (21) days from the date of the filing of the transcript to file a Request for Redaction of
       Transcript, listing the entries by page and line where personal data appears that should be redacted. A copy of
       the Request for Redaction of Transcript must be sent to the transcriber;

3.     The deadline for filing the redacted version of the transcript is thirty−one (31) days from the filing date of the
       transcript;

4.     If the redacted transcript is not filed, the transcript in its current form will be made available to the public via
       remote electronic access and at the public terminals in the Clerk's office for viewing and printing at the end of
       the ninety (90) day restricted period; and

5.     If the redacted version of the transcript is filed, the redacted transcript will be made available via remote public
       access and at the public terminals in the Clerk's office for viewing and printing at the end of the ninety (90) day
       restricted period. The unredacted version of the transcript will not be available via remote electronic access or
       at the Clerk's office upon the filing of the redacted transcript; it shall be maintained as a private, restricted
       event. An attorney who purchases the transcript during the ninety (90) day restricted period will be given
       remote electronic access to the transcript and any redacted version filed.

Dated: 5/24/21
                                                               Mark A. Neal, Clerk of Court
                                                               by Deputy Clerk, Daniel Walston
                                                               301−344−3496

cc:

Clerk49 (rev. 09/28/2007)
